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                                                                       NON-CONFIDENTIAL VERSION



          IN THE UNITED STATES COURT OF INTERNATIONAL TRADE



 HYUNDAI STEEL COMPANY,

                            Plaintiff,
                                                           Before: Hon. Mark A. Barnett,
 NUCOR CORPORATION,                                                 Chief Judge


                            Consolidated-Plaintiff,        Consol. Court No. 22-00170


                      V.
                                                           NON-CONFIDENTIAL VERSION


 UNITED STATES,                                            Business Proprietary Information
                                                           Removed from Page: 20
                            Defendant,

                      and

 NUCOR CORPORATION, and
 GOVERNMENT OF THE REPUBLIC
 OF KOREA,

                            Defendant-Intervenors.


    NUCOR CORPORATION'S RESPONSE TO HYUNDAI STEEL COMPANY'S
          MOTION FOR JUDGEMENT ON THE AGENCY RECORD



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Dated: May 19, 2023
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  I.       INTRODUCTION

           On behalf of Defendant-Intervenor Nucor Corporation ("Nucor"), we hereby submit the

  following response to the November 28, 2022 brief in support of the motion for judgment on the

  agency record filed by Plaintiff Hyundai Steel Company ("Hyundai Steel" or "Plaintiff'). Pl's.

  Br. in Supp. Of Pl's. Mot. for J. on the Agency R. (Nov. 28, 2022), ECF No. 25 ("Plaintiff Br.").

  For the reasons discussed in this brief, in conjunction with the arguments presented by Defendant

  United States, Defendant-Intervenor respectfully requests that this court reject the arguments

  raised by Plaintiff and affirm aspects of the Final Results of the U.S. Department of Commerce

  ("Commerce") in the 2019 administrative review of the countervailing duty ("CVD") order on

  Certain Hot-Rolled Steel Flat Products from the &public cf Korea ("I-IRSfrom Korea").

           As directed by this court, Order (Mar. 6, 2023), ECF. No. 33, Defendant-Intervenor does

  not intend to repeat arguments raised by Defendant in its April 28, 2023 brief with respect to

  Plaintiff's arguments on the countervailability of additional free carbon emissions allowances

  provided under the Korea Emissions Trading System ("KETS") program, Def.'s Resp. to Pls.'

  Mots. for J. on the Agency R. (Apr. 28, 2023), ECF No. 34 ("Defendant Br."). Nucor concurs

  with and adopts by reference the arguments made by Defendant with regard to the

  countervailability of the KETS program.

  II.      RULE 56.2 STATEMENT

           A.      Administrative Decision Under Review

           The administrative determination challenged in this appeal is Commerce's Final Results in

  the 2019 administrative review of the CVD order on I-IRS from Korea.         Issues and Decision

  Memorandum accompanying Certain Hot-Rolled Steel Flat Products from the Republic cf Korea,

  87 Fed. Reg. 27,570 (Dep't Commerce May 9, 2022) (final results of countervailing duty admin.




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  rev.; 2019), P.R. 132 ("Final I&D Memo").' See also Certain Hot-Rolled Steel Flat Products from

  the &public cf Korea, 87 Fed. Reg. 27,570 (Dep't Commerce May 9, 2022) (final results of

  countervailing duty admin. rev.; 2019), P.R. 133 ("Final Results").

           B.      Issues Presented

                   1.      Whether Commerce's Decision to Countervail the Provision of
                           Additional Free Allowances to Hyundai Steel through the KETS
                           Program Is Supported by Substantial Evidence and in Accordance with
                           Law?

           Yes. Commerce appropriately found that the Government of Korea's ("GOK") provision

  of additional free carbon emissions allowances under the KETS program is countervailable.

  Plaintiff incorrectly argues that the provision of these allowances is not specific and does not

  constitute afinancial contribution or confer acountervailable benefit. Plaintiff sarguments are in

  error. Under the KETS program, the GOK provides an additional three percent allocation of free

  allowances to companies, such as Hyundai Steel, that satisfy certain high international trade

  intensity and/or high emissions production cost criteria.      In effect, the GOK relieves these

  companies from the obligation of having to purchase additional allowances from the government.

  This extra allocation is afinancial contribution because it constitutes revenue that the GOK would

  otherwise be able to collect. These additional allowances confer abenefit to Hyundai Steel because

  they provide the company with something of value at no cost. And these allowances are specific

  because they are provided to an expressly limited set of industries and companies, determined by

  the non-objective criteria established under Korean law. This court has entertained nearly identical




  1        Documents on the public record of the underlying administrative review are identified here
  as "P.R.," followed by the number assigned to the relevant document in the administrative record
  index filed with the court on August 15, 2022. Documents in the confidential administrative record
  are identified by name, followed by "C.R." and the corresponding record number.




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  arguments in BGH Edelstahl Siegen GmbH v. United States, 600 F.Supp.3d 1241 (Ct. Intl Trade


  2022) ("BGH"), where it found that Commerce's decision to countervail free allowances provided

  under a similar emissions trading program was supported by substantial evidence and in


  accordance with law. The court should reach the same decision here.


  III.     STATEMENT OF FACTS

           Commerce initiated the 2019 administrative review of the CVD order covering BRS from

  Korea on December 8, 2020 and selected Plaintiff Hyundai Steel as the sole mandatory respondent


  on January 12, 2021. Certain Hot-Rolled Steel Flat Products From the Republic cfKorea, 86 Fed.

  Reg. 60,797 (Dep't Commerce Nov. 4, 2021) (prelim. results of countervailing duty admin. rev.


  and rescission in part; 2019), P.R. 100 ("Preliminary Results") and accompanying Preliminary

  Decision Memorandum, P.R. 98 at 2("Prelim Decision Memo").


           Hyundai Steel and the GOK submitted their initial questionnaire responses on March 4,


  2021.    Prelim Decision Memo at 2.    Commerce had initiated an investigation into the KETS

  program during the 2018 administrative review, but the agency deferred examination of


  allowances provided under the KETS program to the 2019 review. Id. at 3n.19. Commerce issued

  new subsidy allegation questionnaires relating to this program on April 26, 2021, to which


  Hyundai Steel and the GOK submitted responses on May 17, 2021. Id. at 3. Hyundai Steel and


  the GOK submitted supplemental questionnaire responses in September 2021, providing


  additional information concerning the KETS program. See id. at 19-20.

           Under the KETS, Korean companies are required to surrender emissions permits (i.e.,


  allowances) to offset their annual greenhouse gas emissions. Id. at 17. Allowances are primarily


  allocated by the GOK at the start of each annual compliance period. Id. at 17. During Phase 2of


  the KETS, which covers the 2019 POR, the GOK calculated the number of allowances it would




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  assign acompany and then allocated 97% of that annual allotment to each company free of charge.

  Id. at 18. The Korean Act on the Allocation and Trading of Greenhouse Gas Emissions Permits

  ("AAGEP") and accompanying enforcement decree ("AAGEP Enforcement Decree") provide that

  Korean companies meeting certain high trade intensity and emissions production cost criteria

  qualify to receive the full 100% allotment of allowances (i.e., an additional three percent) at no

  cost from the GOK. Id. at 18.

           During Phase 2 of the KETS, the GOK targeted the Korean "steel" industry and other

  manufacturing sectors, granting them "emission permits free of charge." Letter from Yoon &

  Yang LLC to Sec'y Commerce, re: Certain Hot-Rolled Steel Flat Products from the &public cf

  Korea, Case No. C-580-884: Additional Translations Accompanying GOK's Carbon Emissions

  New Subsidy Allegation Questionnaire Response (May 20, 2021), P.R. 77 at Exhibit CEP-8, p. 2

  ("GOK Carbon Emissions NSA QR Translations"). As asteel producer, Hyundai Steel qualified

  for the full 100% allocation. Prelim Decision Memo at 19-20. See also Letter from Yoon & Yang

  LLC to Sec'y Commerce, re: Certain Hot-Rolled Steel Flat Products from the &public cf Korea,

  Case No. C-580-884: GOK's Carbon Emissions New Subsidy Allegation Questionnaire Response

  (May 17, 2021), P.R. 76, C.R. 77 at 1-2 ("GOK Carbon Emissions NSA QR").

           Regardless of whether acompany receives the additional three percent of allowances free

  of charge from the GOK, if that entity's emissions exceed its freely allocated allowances for the

  year, the company is responsible for acquiring additional allowances to account for the difference.

  Prelim Decision Memo at 19. The AAGEP provides that Korean companies may do this by (1)

  using banked allowances from prior compliance years, (2) purchasing additional allowances from

  other private entities through acentralized exchange, (3) purchasing additional allowances directly

  from other private entities, (4) borrowing allowances from afuture compliance year, (5) applying




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  earned credits for emissions offset programs, and/or (6) purchasing allowances from aGOK-run

  auction. Id. Further, for companies unable to obtain sufficient allowances to cover their incurred

  emissions, the AAGEP establishes "that the GOK may impose apenalty of not more than three

  times the average market price." Id.

           Commerce published its Preliminary Results on November 4, 2021. Preliminary Results.

  Commerce preliminarily determined that the provision of additional free allowances constituted a

  countervailable subsidy. Id. at 19-21.     Commerce found that "in providing an additional, free

  emission allocation to certain sectors, including Hyundai Steel, the GOK is providing afinancial

  contribution in the form of revenue forgone." Id. at 20. And the agency determined abenefit to

  exist "to the extent that the recipient is relieved of the obligation to purchase additional

  allowances." Id. Commerce also found "the provision of additional free {allowances} to certain

  sectors, including Hyundai Steel, to be de jure specific." Id.

           Parties filed affirmative case briefs and rebuttal briefs in January 2022. Final I&D Memo

  at 2. Regarding the KETS program, in their case briefs, Hyundai Steel and the GOK argued that

  the additional three percent allocation must be considered in light of the entire KETS and that the

  program as awhole imposes aburden on Korean respondents such that any additional allowances

  received are not countervailable.      See id. at 10-14.   In its rebuttal brief, Nucor argued that

  Commerce appropriately countervailed the provision of additional free allowances, consistent with

  the statute as well as the agency's regulations and established practice. Id. at 14-17.

           Commerce published its Final Results on May 9, 2022.           Final Results.    Commerce

  continued to find that the provision of additional free emissions allowances through the KETS

  were specific and constituted afinancial contribution that provided acountervailable benefit. Final

  I&D Memo at 17.          With respect to financial contribution, Commerce reasoned that "when




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  evaluating revenue forgone that would have been due otherwise, it is not amatter of what the GOK

  would have done with the {allowances} had they not given them to qualifying entities like Hyundai

  Steel," but rather whether "the GOK would have retained the ability to collect the three percent

  allocation from Hyundai Steel." id. at 22. As to the benefit received, Commerce explained that

  "{w} hen analyzing whether apotential countervailable subsidy exists, Commerce does not take

  into account the effects of the subsidy," and it relied on its "long-standing approach to evaluate

  subsidies regardless of any overall impact or burden from an overarching program." Id. at 18-19.

  Regarding specificity, Commerce determined that the additional three percent allocation is de jure

  specific, reasoning that, "while the AAGEP and implementing rules do establish criteria, those

  criteria result in an express statutory limitation on which industries qualify for the additional

  allocation by setting thresholds that industries must meet in order to qualify." Id. at 23.

           In sum, Commerce continued to countervail the additional emissions allowances received

  by Hyundai Steel through the KETS program in the Final Results, and this appeal ensued.

  IV.      STANDARD OF REVIEW

           This court reviews Commerce's decisions in CVD proceedings to determine whether those

  decisions are "unsupported by substantial evidence on the record, or otherwise not in accordance

  with law ...." 19 U.S.C. §1516a(b)(1)(B)(i). See also Fkjitsu Gen. Ltd. v. United States, 88 F.3d

   1034, 1038 (Fed. Cir. 1996). Substantial evidence is "such relevant evidence as areasonable mind

  might accept as adequate to support aconclusion." Universal Camera Coil,. v. NLRB, 340 U.S.

  474, 477 (1951) (citation omitted). It is "something less than the weight of the evidence, and the

  possibility of drawing two inconsistent conclusions from the evidence does not prevent an

  administrative agency's finding from being supported by substantial evidence." Consolo v. Fed.

  Mar. Comm 'n, 383 U.S. 607, 620 (1966). See also Dongtai Peak Honey Indus. Co. v. United




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  States, 38 CIT 334, 336, 971 F.Supp.2d 1234, 1239 (2014),       f'd, 777 F.3d 1343, 1349 (Fed. Cir.


  2015).

            A plaintiff cannot ask the court to re-weigh the evidence on the record and decide the case


  for Commerce. See Matsushita Elec. Indus. Co. y United States, 750 F.2d 927, 933 (Fed. Cir.


   1984).   Factual findings by Commerce are afforded considerable deference.        See 1NS v. Elias-


  Zacarias, 502 U.S. 478, 483-84 (1992) (stating that in fact-intensive situations, agency conclusions


  should be reversed only if the record contains evidence "so compelling that no reasonable

  factfinder" could reach the same conclusion). In addition, the court "uphold{s} adecision of less

  than ideal clarity if the agency's path may reasonably be discerned." Motor Vehicle 11/ifrs. Ass 'n


  v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (citation omitted); Ceramica


  Regiomontana, S.A. v. United States, 810 F.2d 1137, 1139 (Fed. Cir. 1987). As such, Commerce

  need only "articulate a satisfactory explanation for its action including a 'rational connection


  between the facts found and the choice made." Motor Vehicle 11/ifrs. Ass 'n, 463 U.S. at 43 (citation

  omitted).


            Moreover, in determining whether Commerce's decisions in CVD proceedings are


  "unsupported by substantial evidence on the record, or otherwise not in accordance with law," this


  court reviews the agency's conduct under the abuse of discretion standard. See Dongtai Peak, 38

  CIT at 336, 971 F.Supp.2d at 1239; Jiangsu Jiasheng Photovoltaic Tech. Co. v. United States, 38


  CIT 1632, 1634-35, 28 F.Supp.3d 1317, 1323 (2014). Accordingly, the court has recognized that


  it "(1) must consider whether {Commerce's} decision was based on aconsideration of relevant

  factors and whether there has been aclear error of judgment, and (2) analyze whether arational


  connection exists between {Commerce's} factfindings and its ultimate action." Consol. Fibers,

  Inc. v. United States, 32 CIT 24, 35-36, 535 F.Supp.2d 1345, 1354 (2008).




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  V.       ARGUMENT

           A.      Commerce's Decision to Countervail the Provision of Additional Free
                   Allowances to Hyundai Steel Through the KETS Program Is Supported by
                   Substantial Evidence and in Accordance with Law

           Commerce properly found that the GOK' sprovision of extra free emissions allowances to

  Hyundai Steel under the KETS constitutes a countervailable subsidy.            In the Final Results,

  Commerce correctly focused its analysis on the "additional three percent allocation" that were

  provided at no cost to Hyundai Steel and other companies that satisfied specific high trade intensity

  and emissions production cost criteria established in the AAGEP.        Final I&D Memo at 18-23.

  Commerce reasonably found that this additional allocation amounted to revenue foregone,

  reasoning that "the three percent allocation represents avalue that the GOK will no longer collect."

  Id. at 20-22. Commerce thoroughly considered and addressed arguments raised by Hyundai Steel

  and the GOK in the underlying administrative review, demonstrating that the KETS program gives

  additional free allowances to Hyundai Steel that are specific, constitute afinancial contribution,

  and provide acountervailable benefit. See id. at 9-24.

           Still, Plaintiff argues in this action that the KETS program does not provide afinancial

  contribution or abenefit and is not specific. Plaintiff Br. at 7-8. Defendant has effectively rebutted

  these claims at length, demonstrating that Commerce lawfully countervailed the provision of these

  allowances. Defendant Br. at 11-24. With respect to the countervailability of the KETS program,

  we agree with Defendant and support the arguments made in its brief See id. Especially in light

  of the considerable deference afforded to Commerce to conduct fact-intensive investigations and

  make program- and period-specific factual determinations, see, e.g., Elias-Zacarias, 502 U.S. at

  483-84, Commerce's findings were reasonable and supported by the record. Further, Commerce

  made these determinations against the backdrop of established agency and court precedent in




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  which Commerce has found additional free allowances provided under similar emissions trading

  programs to be countervailable.      See, e.g., BGH, 600 F.Supp.3d 1241.        Accordingly, despite

  Plaintiff's claims to the contrary, Commerce's countervailability determination was in accordance

  with law, based on substantial evidence, and not an abuse of the agency's discretion.

           To support Defendant's brief, in turn below, we provide additional argument and context

  in support of each of the three elements of Commerce's CVD framework (i.e., financial

  contribution, benefit, and specificity) challenged by Plaintiff in this appeal. As an initial matter,

  however, we stress that this court has recently addressed and rejected anearly identical challenge

  in BGH. There, this court upheld Commerce's decision to countervail asimilar emissions program

  in Germany. Id. at 1262. It is thus telling that Plaintiff fails entirely to mention the BGH decision

  in its brief This is especially so given that the deadline to file opening briefs in this action (i.e.,

  November 28, 2022) was more than one month after the date this court issued its opinion in BGH

  (i.e., October 12,2022).     See Plaintiff Br.; BGH, 600 F.Supp.3d 1241.           And Commerce's

  determination in the investigation underlying the BGH appeal had been discussed at length

  throughout this proceeding.     See Final I&D Memo at 15-22.         While Defendant appropriately

  analogizes to BGH at points in its brief, Defendant Br. at 15-19, we believe the case warrants an

  even closer analysis.

                   1.      Similar to BGH, Commerce's Decision to Countervail the Additional
                           Free Allowances Provided to Hyundai Steel Through the KETS Is
                           Lawful and Supported by Substantial Evidence

           In BGH, aGerman steel producer (i.e., BGH) challenged Commerce's final determination

  in its CVD investigation of forged steel fluid end blocks, arguing in part that the agency improperly

  countervailed the provision of additional free carbon emissions allowances under the European

  Union's Emissions Trading System ("EU ETS"). BGH, 600 F.Supp.3d at 1247, 1262-65. The




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  plaintiff argued that additional free allowances provided to BGH under the EU ETS did not

  constitute afinancial contribution or acountervailable benefit and that the program was not dejure

  specific.   id. at 1262.    This court disagreed, finding that "Commerce's determination that the

  additional free emissions allowances given to BGH under the ETS is acountervailable subsidy ..

  .{to bel supported by substantial evidence and in accordance with law." id.

           Extra free emissions allowances are provided in asimilar fashion to European companies

  under the EU ETS as they are to Korean companies as part of the KETS. "Under the ETS, the EU

  requires companies emitting large amounts of greenhouse gas into the atmosphere to reduce their

  emissions and to surrender emissions allowances for the carbon they emitted the previous year."

  Id. Akin to the KETS, see Prelim Decision Memo at 19, EU companies obtain allowances "(1)

  freely from their government, (2) by purchasing allowances through an EU-regulated auction, or

  (3) by purchasing from private companies on asecondary market." BGH, 600 F.Supp.3d at 1262-

  63. In the same way that the GOK provided 97% of allowances free of charge during this phase

  of the KETS, Final I&D Memo at 19-20, all EU companies other than power stations "are given

  allowances to cover 44.2% of the emissions of the most efficient companies in each sector" through

  the EU ETS, BGH, 600 F.Supp.3d at 1263. However, like the KETS, under the EU ETS, "{f} or

  certain large companies at significant risk of carbon leakage ...the state provides additional free

  allowances to meet 100% of the allowances needed." id. And if acompany is "not able to cover

  its emissions using only the freely allotted allowances," it "must purchase additional allowances

  from the government auction or aprivate party or invest in technological improvements to reduce

  its emissions." id.      Therefore, just as it did when with respect to the additional three percent

  allocation provided through the KETS, see Final I&D Memo at 17-24, Commerce found in the

  proceeding underlying BGH that the provision of additional free allowances under the EU ETS (1)




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  constituted afinancial contribution, (2) provided acountervailable benefit, and (3) were specific,

  see BGH, 600 F.Supp.3d at 1262-65.

            First, "Commerce reasonably determined the distribution of additional free carbon

  emissions allowances to companies on Germany's carbon leakage list, including BGH, to be a

  financial contribution." Id. at 1262. "As acompany on the carbon leakage list ...BGH received

  additional freely allocated emissions allowances beyond the standard rate of allocation." Id. at

   1263. "Specifically, BGH received allowances equaling 100% of {its} emissions," but if it "were

  not on the carbon leakage list, it would have only received {allowances for} 44.2% of {its}

  emissions." Id. This court reasoned that the "number of additional allowances BGH received as

  aresult of being on the carbon leakage list is the number of the allowances BGH did not have to

  purchase and therefore revenue the government did not collect." id. The court further averred that

  the "issue is not whether the {German government} can sell the free allowances to companies,"

  but rather whether it "forgoes revenue when it gives additional free allowances to companies on

  the carbon leakage list like BGH," which reduces "the number of allowances BGH must purchase

  at the state-run auction or the secondary market." Id.

            Importantly, the carbon leakage list that determined which companies received additional

  allowances from the EU ETS in BGH operates very similarly to the high trade intensity and

  emissions production cost criteria established under the AAGEP for the KETS. For the relevant

  period, for an industry to be placed on the carbon leakage list, it was required to meet one of three

  criteria:

       1.   "The sum of direct and indirect additional costs (i.e., induced by the implementation of the
            EU ETS) would increase production cost, calculated as aproportion of the gross value
            added, by at least 5percent; and at the same time the sector's trade intensity with non-EU
            countries is greater than 10 percent."




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      2.    "The sum of direct and indirect additional costs (i.e., induced by the implementation of the
            EU ETS) would increase production cost, calculated as aproportion of the gross value
            added by at least 30 percent."

       3.   "The sector's trade intensity with non-EU countries is greater than 30 percent."

  Preliminary Decision Memorandum accompanying Forged Steel Fluid End Blocks From the

  Federal Republic cf Germany, 85 Fed. Reg. 31,454 (Dep't Commerce May 26, 2020) (prelim.

  affirm. countervailing duty deter., and alignment of final deter. with final antidumping duty deter.)

  at 26.     Therefore, Commerce concluded that the EU ETS "regulatory system specifically

  establishes adistinct set of rules for the companies on the carbon leakage list that is unique from

  the set of rules for other companies under this program."        Issues and Decision Memorandum

  accompanying Forged Steel Fluid End Blocks From the Federal Republic cf Germany, 85 Fed.

  Reg. 80,011 (Dep't Commerce Dec. 11, 2020) (final affirm. countervailing duty deter.) at 49.

            Likewise, under the KETS, Article 12(4) of the AAGEP and Article 14 of the AAGEP

  Enforcement Decree provide that sectors that meet certain high trade intensity and/or high

  emissions production costs criteria qualify to receive the entire 100% allowances allocation from

  the GOK each year. Prelim Decision Memo at 18; Final I&D Memo at 20. Specifically, criteria

  established by the AAGEP provide that companies meeting the following thresholds receive

  additional free allowances under the KETS:

       1.   "30% or above for Trade Intensity" — calculated as "{a}nnual average of (exports +
            imports) ± (sales + imports) during the base period, which is from year 2013 through
            2015;"

      2.    "30% or above for Production Costs" —calculated as "{a}nnual average of (GHG emitted
            amount x market price of the permits) ± amount of value-added during the base period,
            which is from year 2013 through 2015."

       3.   "10% or above for Trade Intensity and 5% or above for Production Costs"

  GOK Carbon Emissions NSA QR at 2. See also Final I&D Memo at 23. These specific criteria,

  which are strikingly similar to those required to be on the EU ETS carbon leakage list, led


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  Commerce to conclude that "the AAGEP and implementing rules not only establish explicit

  limitations but also are not objective criteria or conditions," as defined by the statute. Final I&D

  Memo at 23.

           Second, Commerce found that the extra allowances provided BGH constituted a

  countervailable benefit because the company "was relieved of the obligation to pay for the

  additional emissions allowances it was given because it was on the carbon leakage list." BGH,

  600 F.Supp.3d at 1263.      This court determined that the German government provided those

  allowances "to BGH at no cost," despite the respondent's argument that the requirement to

  purchase the emissions allowances was aburden, or an "obligation significantly increasing its

  energy costs."    Id. at 1263-64.    The court rejected that argument, reasoning that "Commerce

  determines benefit by the reduction or elimination of the obligation, without regard to the source

  of that obligation." Id. at 1264 (citing Countervailing Duties: Final Rule, 63 Fed. Reg. 65,348,

  65,361 (Dep't of Commerce Nov. 25, 1998)). Ultimately, this court found that "{d}ue to receiving

  the additional free allowances, BGH received something for free."          id.   In other words, the

  respondent received allowances that it would have otherwise "been required to pay to acquire at

  auction or on the private market." id.

           Third, "Commerce reasonably determined the ETS additional free allowances program is

  de jure specific because it is expressly limited to agroup of companies." id. The agency found

  that eligibility for this program is "limited by law to the companies on the carbon leakage list." Id.

  This court rejected BGH' sargument that "Commerce's de jure specificity determination {was} an

  unlawful rule of universal availability," finding instead that the "standard employed by Commerce

  is found in the statute."    Id.    The court also rejected the respondent's contention that free

  allowances were granted to companies based on objective criteria (i.e., "each company's risk of




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  carbon leakage") and were thus not specific, determining that "not all companies subject to the

  ETS are eligible to be on the carbon leakage list." Id. Accordingly, because the statute requires

  "objective criteria" that "must not favor certain industries over others," the court explained that it

  is "reasonably discernible that Commerce determined the restrictions of the carbon leakage list to

  favor certain enterprises or industries or group of certain industries or enterprises." Id.

           In short, as this court made clear in BGH, Commerce properly countervails the provision

  of additional free allowances under emissions trading programs in circumstances such as those

  present here. As detailed further below, like the EU ETS program in BGH, the KETS program

  provides additional emissions allowances to companies free of charge based on trade intensity and

  production cost data such that the government forgoes the opportunity to collect revenue on those

  additional allowances and the respondent companies are provided something of value at no cost.

                   2.       Commerce Correctly Determined that Additional Free Allowances
                            Provided Through the KETS Constitute aFinancial Contribution

           A government makes afinancial contribution when it forgoes collecting revenue that is

  otherwise due.        19 U.S.C. §1677(5)(D)(ii).   On that basis, Commerce determined that the

  additional three percent of free allowances afforded Hyundai Steel through the KETS program

  constituted afinancial contribution. Prelim Decision Memo at 20; Final I&D Memo at 21-22.

  Nevertheless, Plaintiff mistakenly argues that afinancial contribution is not provided because the

  additional allowances do not constitute revenue that is otherwise due to the GOK. Plaintiff Br. at

  9-20. Commerce thoroughly addressed this line of argument, explaining that "when evaluating

  revenue forgone that would have been due otherwise, it is not amatter of what the GOK would

  have done with the {allowances} had they not given them to qualifying entities like Hyundai

  Steel," but rather "the key consideration is that, in lieu of giving these entities the additional

   {allowances} for free, the GOK would have retained the ability to collect the three percent



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  allocation from Hyundai Steel." Final I&D Memo at 22. Put simply, "{r} egardless of whether

  the additional allocation was provided to Hyundai Steel from the GOK, or whether Hyundai Steel

  purchased the allocations from agovernment auction or from another company, the three percent

  allocation represents avalue that the GOK will no longer collect." id. Building on the agency's

  reasoning, Defendant rebuts Plaintiff's arguments in detail.     See Defendant Br. at 15-17.     We

  provide two additional points for the court's consideration.

           First, Plaintiff's argument is unduly focused on the mechanisms through which the value

  of the freely allocated allowances would be transmitted between the GOK and Hyundai Steel. See

  Plaintiff Br. at 9-20. In attempting to parse the language of the statute, Plaintiff wrongly fixates

  on the timing of when Hyundai Steel would have owed any revenue to the GOK. Id. at 11-13. In

  this sense, Plaintiff fails to see the forest through the trees. The very purpose of the KETS program

  is to provide companies, such as Hyundai Steel, that meet the specified trade and emissions

  production criteria with additional allowances. See Prelim Decision Memo at 18.         There is no

  question that these additional allowances have value or that Hyundai Steel is put in abetter position

  by receiving them. Indeed, as Defendant noted, "Hyundai Steel's overreliance on the options for

  obtaining additional {allowances} ignores the fact that the additional three percent allocation

  placed it in an initial advantageous position."       Defendant Br. at 17.   Thus, given the basic

  framework of the program, Commerce's interpretation of the revenue forgone provision in the

  statute is not unreasonable. Nor is it unsupported by substantial evidence. Rather, Commerce

  reasonably found the GOK provides afinancial contribution to Hyundai Steel.

           Second, Plaintiff mistakenly argues that the existence of asecondary market for KETS

  emissions allowances means that there could not be revenue forgone through the allocation of

  additional allowances. See Plaintiff Br. at 19-20. To start, as Defendant addresses, "{e}ven if




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  Hyundai Steel could have theoretically purchased those allocations from the private market instead

  of through government auction, the three percent allocation still represents avalue that the Korean

  government will no longer collect from Hyundai Steel." Defendant Br. at 17. Moreover, there is

  no statutory requirement that the revenue be due from the respondent in question. See 19 U.S.C.

  §1677(5)(D)(ii). That is, for the sake of argument, if Hyundai Steel were not to receive its free

  three percent allocation and it purchased those additional allowances entirely from the private

  markets —instead of the GOK-run auction —Hyundai Steel would still be reducing the number of

  allowances available to be sold privately and thus requiring another company to purchase

  additional allowances from the GOK. The point being that, whether it is revenue received from

  Hyundai Steel or another company, by giving Hyundai Steel three percent of its allowances for

  free, the GOK forgoes collecting revenue on those allowances. Additionally, there is apenalty

  price that GOK charges for companies that fail to cover their annual emissions with sufficient

  allowances.     Prelim Decision Memo at 17-18.       Allowance trading aside, this penalty prices

  establishes aclear link between the revenue the GOK could potentially collect and the revenue it

  forgoes by allocating additional free allowances.

                   3.      Commerce Properly Found that the Additional Free Allowances
                           Provided Through the KETS Confer aBenefit

           A government confers acountervailable benefit "where there is abenefit to the recipient."

   19 U.S.C. §1677(5)(E). Therefore, in finding that the allocation of additional emission allowances

  provided something of value to Hyundai Steel, Commerce reasonably determined that the

  provision of those allowances conferred acountervailable benefit. Prelim Decision Memo at 20;

  Final I&D Memo at 18-19. Yet, Plaintiff argues at length that the total burden imposed by the

  KETS somehow negates the benefit provided Hyundai Steel and other companies that are allocated

  additional free allowances. See Plaintiff Br. at 20-28. Commerce comprehensively addressed this



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  line of argument, see Final I&D Memo at 18-19, and Defendant rebutted these claims throughout

  its response brief, see Defendant Br. at 17-20. Indeed, as Defendant addressed, the question of

  whether abenefit is conferred is separate from the effect of that subsidy. Id. at 18-19. See also 19

  C.F.R. §351.503(c). In other words, any burden imposed on Hyundai Steel by the entirety of the

  KETS regulatory framework is distinct from an analysis of whether the additional free allowances

  provided under the KETS program confer abenefit to the respondent.

           We highlight for the court the broad statutory authority that Commerce possesses to

  identify and countervail subsidies when abenefit is conferred to arespondent company. As noted

  above, the statute provides plainly that a"benefit shall normally be treated as conferred where

  there is abenefit to the recipient." 19 U.S.C. §1677(5)(E). The statute then lists four illustrative

  examples (i.e., equity infusions, loans, loan guarantees, and goods or services provided for less

  than adequate remuneration ("LTAR")).             19 U.S.C.    §1677(5)(E)(i)-(iv).     As Plaintiff

  acknowledges, Plaintiff Br. at 21, Commerce's regulations allow it to find countervailable benefits

  for "other subsidies" that are not specifically enumerated in the statute or the agency's regulations,

   19 C.F.R. §351.503(b).       However, Plaintiff erroneously argues that Commerce's benefit

  determination was unlawful because it failed to consider the extent to which the free allowances

  provided through the KETS program were similar to the illustrative examples listed in the statute.

  Plaintiff Br. at 21-22. Plaintiff's argument is based on the requirement in the agency's regulation

  that, when paragraph (b)(1) of 19 C.F.R. §351.503 does not apply, under paragraph (b)(2),

  Commerce "will determine whether a benefit is conferred by examining whether the alleged

  program or practice has common or similar elements to the four illustrative examples in sections

  771(5)(E)(i) through (iv) of the Act." Plaintiff Br. at 21-22; 19 C.F.R. §351.503(b)(2). Plaintiff

  claims that Commerce failed to conduct this analysis. Plaintiff Br. at 22. This argument is in error.




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           Commerce made clear that it found a countervailable benefit to exist under 19 C.F.R.

  §351.503(b)(2) on the grounds that "the recipient is relieved of the obligation to purchase

  additional allowances." Prelim Decision Memo at 20; Final I&D Memo at 24. While Commerce

  did not address each of the illustrative examples in the statute by name, which is not specifically

  required by the statute or the agency's regulations, Commerce did fully explain its benefit

  determination and did so in specific reference to 19 C.F.R. §351.503(b)(2). See Final I&D Memo

  at 18.   The agency noted that the "fact that the subsidy program itself, or some related law or

  regulation, affects the recipient's behavior is not material to Commerce's determination as to

  whether acountervailable benefit is conferred under the program." id. Commerce also explained

  that it "would not consider the overarching burden imposed by the K-ETS program as ameans of

  offsetting the assistance provided via the additional three precent {allowances} allocation." Id.

           Moreover, while the type of carbon emissions allowances program at issue in this case is

  not listed by name in the statute or the agency's regulations, the benefit provided respondent

  companies does closely resemble specifically enumerated subsidy programs.         For instance, by

  paying nothing for something of value, Hyundai Steel and other Korean companies receive

  additional emissions allowances for LTAR.            See 19 U.S.C. §1677(5)(E)(iv);     19 C.F.R.

  §351.503(a). This court in BGH made asimilar point, explaining that "{d}ue to receiving the

  additional free allowances, BGH received something for free—allowances BGH otherwise would

  have been required to pay to acquire at auction or on the private market." BGH, 600 F.Supp.3d at

   1264. The same logic applies here. And contrary to Plaintiff's claims, no additional explanation

  was required from Commerce as to its benefit determination.




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                   4.      Commerce Properly Determined that the Additional Free Allowances
                           Provided Through the KETS Are Specific

           A government provides asubsidy that is de jure specific where it "expressly limits access

  to the subsidy to an enterprise or industry."    19 U.S.C. §1677(5A)(D)(i).       The statute further

  explains that a subsidy is not de jure specific in certain enumerated instances, where the

  government "establishes objective criteria or conditions governing {} eligibility."        19 U.S.C.

  §1677(5A)(D)(ii). "Objective criteria or conditions" are defined as "criteria or conditions that are

  neutral and that do not favor one enterprise or industry over another." 19 U.S.C. §1677(5A)(D).

           Commerce correctly found that the additional three percent allocation is de jure specific,

  explaining that, "while the AAGEP and implementing rules do establish criteria, those criteria

  result in an express statutory limitation on which industries qualify for the additional allocation by

  setting thresholds that industries must meet in order to qualify." Final I&D Memo at 23. Plaintiff

  argues that the high trade intensity and emissions production criteria established by the AAGEP

  do not "explicitly limit" which industries or companies are eligible for the additional allocation.

  Plaintiff Br. at 30-32.     Defendant responds that "the criteria included in the AAGEP and

  implementing rules establish that specific types of industries may benefit from the additional

  assistance from the allocation of additional {allowances}, while others do not." Defendant Br. at

  22-23. Defendant is correct, and Commerce's de jure specific determination is supported by the

  record and in accordance with law.

           We stress that the KETS program is not objective because it is not neutral. The AAGEP

  Enforcement Decree establishes the criteria for eligibility, which permit trade intensive and/or high

  emissions production cost sectors to receive three percent more allowances than other participants

  in the program.       Final I&D Memo at 23.     By design, the program is limited to only certain

  industries. In aprovision titled "Criteria for Types of Business Eligible for Gratuitous Allocation,"



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  the AAGEP Enforcement Decree expressly limits the subsidy to "business {es} eligible for

  gratuitous allocation of all emissions permits," defined by those that are able to meet the specified

  trade intensity and emissions criteria.    GOK Carbon Emissions NSA QR at Exhibit CEP-1

  (AAGEP Enforcement Decree, Art. 14).        The GOK reports that additional free allowances are

  limited to 37 subsectors, of which those comprising the "Industrial — general" sector, constitute

  more than half of the freely allocated allowances in 2019.      GOK Carbon Emissions NSA QR

  Translations at Exhibit CEP-8, Attachments 2-3.       The "Industrial" sector, which includes the

  Korean steel industry, is by far the largest recipient of free allowances, receiving more than 17

  times more allowances than any non-energy sector in Korea. Id. at Exhibit CEP-8, Attachment 3.

           There are only a [




                                                                                              ]. GOK

  Carbon Emissions NSA QR at Exhibit CEP-7.          The [




                                                         ]. Id. As the largest recipient, the [




                                                                                                     ].

  Id. Clearly, the [             ]of the [                                                 ]of [

                                                   ]. Even if it were designed in away that would

  appear objective, the criteria themselves ensure that the program cannot be neutral. That is, these

  criteria are neither objective nor neutral because, as this court reasoned in BGH, "the criteria must




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  not favor certain industries over others." BGH, 600 F.Supp.3d at 1264. Yet that is exactly how


  the KETS program is structured. Thus, Commerce correctly determined that it is de jure specific.


  VI.      CONCLUSION

           For the reasons detailed above, Defendant-Intervenor Nucor respectfully requests that the

  court reject the arguments raised by Plaintiff Hyundai Steel and affirm aspects of Commerce's


  Final Results in the 2019 administrative review of the CVD order on I-IRSfrom Korea.


                                                       Respectfully submitted,


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  Dated: May 19, 2023




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                             CERTIFICATE OF COMPLIANCE


       Pursuant to Chamber Procedure 2(B)(1), the undersigned certifies that this brief complies


with the word limitation requirement.    The word count for Nucor Corporation's Response to


Hyundai Steel Company's Motion for Judgment on the Agency Record, as computed by Wiley


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                                        /s/ Alan H. Price
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                                        Nucor Corporation
                                      (Representative Of)


                                          May 19, 2023
                                             (Date)
